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                             I-INITED STATES DISTzuCT COURT
                                          FOR TTIE                                       -9   PP qr hB
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                                   DISTRICT OF VERMONT

N RE: Content of, and records   relating to,
two Facebook accounts described with                Case   No. 5:19-cr-30
particularity in Attachment A, maintained by
Facebook, Inc.



                                              ORDER

       This matter having been presented to the Court by the Government, and the Court having

considered the motion, the Court finds that sealing is necessary to protect the integrity of an

ongoing investigation. The Court finds that, at this time, those interests substarrtially outweigh the

public interest in right of access. Accordingly it is hereby

       ORDERED, that the Motion to Seal Document, and the Affrdavit frled in support of the

Application for Search Warrant are hereby sealed until further order of the Court. When sealing is

no longer necessary to ensure the investigation's integnty, the government shall move to unseal

the Motion to Seal Document, and the Afflrdavit filed in support of the Application for Search

Warrant.

       Dated at Burlington, in the District of Vermont, this 9th day of July,
